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                            U.S. District Court for the
                           Eastern District of Missouri
                                 Eastern Division


Maleeha Ahmad, et al.
     Plaintiffs,                              Case No. 4:17-cv-2455-CDP

            v.
                                              The Honorable Catherine D. Perry
City of St. Louis,
      Defendants.


                      Nonparty National Lawyers Guild’s
                 Reply Brief in Support of the Motions to Quash
   Earlier today, defendant City of St. Louis filed its Response to the Court’s
Show Cause Order (ECF No. 141), arguing that its subpoenas against Keith Rose

and Scott Kampas should not be quashed. They argue that the Legal Observer

Program’s training materials might show some kind of bias or lack of credibility
regarding witnesses who are legal observers. But if this is true, the request is now

duplicative—defendant has already obtained testimony of legal observers stating,

under oath, that when they deploy, they are focused only on documenting police

misconduct. The LO trainings would give no further insight into what Lewczuc

and others saw (or did not see) during the weekend of September 15, 2017.

Perhaps most important, defendant overstates the relevant facts as they pertain to


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Lewczuc. Plaintiffs have alleged that on the evening of September 17, police

attacked her and others near her as a group, without distinctions between
individuals. So her legal-observer status is simply not relevant to that alleged

interaction between police and the group they attacked.

    The LO trainings still constitute attorney work product, despite defendant’s
protestations. True, the National Lawyers Guild thinks that its LO Program can act

as a deterrent to unconstitutional police behavior. But that is ancillary to its

primary purpose, which is to document constitutional violations in anticipation of

litigation. NLG attorneys regularly represent demonstrators in criminal and civil

cases across the country on the basis of information obtained through the LO

Program. Tellingly, defendant did not address the harm that disclosure would cause

NLG. The LO trainings contain litigation strategies and legal theories that NLG

attorneys have developed to hold state actors accountable in court. Disclosure of

those materials, to the very entity its attorneys seek to sue, would seriously harm

the LO Program’s effectiveness.

    Finally, defendant suggests NLG’s claim of confidential proprietary

information should be ignored because the materials “are simply not available
anywhere else.” In other words, defendant seeks disclosure of NLG’s confidential

information because it is “confidential.” This circular argument cannot—and does

not—outweigh the significant harm disclosure would cause to NLG.
    NLG respectfully asks that this Court grant its motions to quash the subpoenas

against Keith Rose and Scott Kampas, with the qualifications this Court set out in

its April 1, 2019 Memorandum and Order.
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                                                              Respectfully submitted,


                                                        /s/ Margaret Ellinger-Locke
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                                   Certificate of Service

       I certify that on April 3, 2019, the foregoing was served electronically on all
parties via CM/ECF.

                                              /s/ Margaret Ellinger-Locke, 63802MO
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